                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Darryl George, et al.

v.                                               Case Number: 3:24−cv−00012

Greg Abbott, et al.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Judge Jeffrey V Brown
LOCATION:
Sixth Floor Courtroom Galveston
United States Post Office and Courthouse
601 Rosenberg Street
Galveston, TX 77550


DATE: 4/23/2025
TIME: 10:30 AM
TYPE OF PROCEEDING: Motion Hearing

RE: Motion for Reconsideration − #169
Brief − #170
Brief − #171


Date: April 18, 2025                                         Nathan Ochsner, Clerk
